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                                                                                     US009239158B2


(12) United States Patent                                        (10) Patent No.:                     US 9.239,158 B2
       Rothschild                                                (45) Date of Patent:                         *Jan. 19, 2016
(54) BATTERY-CONSERVING FLASHLIGHT AND                        (52) U.S. Cl.
       METHOD THEREOF                                                 CPC ............. F2IV 23/0492 (2013.01); F2IL 4/005
                                                                             (2013.01); F2IV 23/0407 (2013.01); F2IV
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                FL (US)                                                          H05B 37/02 (2013.01); H05B 37/0227
                                                                             (2013.01); H05B 37/0236 (2013.01); F2IL
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                FL (US)                                       (58) Field of Classification Search
                                                                   None
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                                                              (56)                      References Cited
(*) Notice: Subject to any disclaimer, the term of this                         U.S. PATENT DOCUMENTS
                patent is extended or adjusted under 35
                U.S.C. 154(b) by 35 days.                            6,642,667 B2 * 1 1/2003 Avis .......................... 315,200 A
                This patent is Subject to a terminal dis      * cited by examiner
                  claimer.
                                                              Primary Examiner — Jany Richardson
(21) Appl. No.: 14/106,848                                    (74) Attorney, Agent, or Firm — Greer, Burns & Crain, Ltd.
(22) Filed:       Dec. 15, 2013                               (57)                        ABSTRACT
(65)                  Prior Publication Data                  A battery-conserving flashlight and method thereof are pro
                                                              vided. The flashlight includes a body having a first end and a
       US 2014/0104822 A1         Apr. 17, 2014               second end, the first end including an illumination Source and
                                                              the second end including an opening for accessing an interior
              Related U.S. Application Data                   of the body; at least one battery disposed in the body via the
                                                              opening in the second end, the at least one battery coupled to
(63) Continuation of application No. 13/337.562, filed on     and configured for powering the illumination source; and a
       Dec. 27, 2011, now Pat. No. 8,610,372.                 controller disposed in the body configured to determine if the
                                                              body is in motion, wherein if the body is not in motion for a
(51)   Int. C.                                                predetermined period of time, the controller decouples the at
       H05B 37/02            (2006.01)                        least one battery from the illumination source to conserve
       F2/23/04              (2006.01)                        energy in the at least one battery. Optionally, the flashlight
       F2IV33/00             (2006.01)                        may include a visual or audible indicator to alert a user that
       F2IL 4/00             (2006.01)                        the flashlight will shutdown.
       F2IL 4/O2             (2006.01)
       F2I Y IOI/O2          (2006.01)                                          20 Claims, 2 Drawing Sheets

                                                                        222

                BATTERY
                                                                                                                 108


                   220
                             ON/OFF SWITCH

                              ADJUSTABLE                    CONTROLLER                       224
                  130          USER INPUT

                             ENABLEDSABLE
                  134           SWITCH


                             MOTIONSENSOR

                                                     VISUAL                    AUDIBLE
                                                    INDICATOR                 INDICATOR                      200



                                                        116                       118
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                                                                                   108




                                                  222


   BATTERY                                                                     108

                    114
     220
             ONIOFF SWITCH

              ADUSTABLE                   CONTROLLER
     130      USER INPUT                                            224

             ENABLE/DSABLE
     134        SWITCH

             MOTION SENSOR

                                     VISUAL             AUDIBLE
                                    INDICATOR           INDICATOR            200



      FIG. 2                           116                 118
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      ACTIVATE DEVICE
           MANUALLY            3O2
                                                           DETECT
                                                           MOTION?    YES (a)
    304
           DETECT
           MOTION?


                                                            TIMER
                                                        PREDETERMINED
                                                            VALUE2

          START TIMER
                                                                YES


                                                       DEACTIVATE DEVICE

            DETECT
           MOTION?                                                 318




         TIMER >
      PREDETERMINED
          VALUE2


                YES



      ACTIVATE VISUAL
     AUDIBLE INDICATION
                              312




                                     FIG. 3
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                               1.                                                                         2
    BATTERY CONSERVING FLASHLIGHT AND                                       In yet another aspect, the method includes activating an
             METHOD THEREOF                                              audible indicator a second predetermined period of time after
                                                                         activating the visual indicator.
                          PRIORITY                                          In another aspect, the activating the visual indicator step
                                                                         includes intermittently activating an illumination source of
  The present application is a continuation application of               the flashlight.
and claims priority to U.S. patent application Ser. No. 13/337,             In still another aspect of the present disclosure, the detect
562 filed on Dec. 27, 2011, the contents of U.S. patent appli            ing if the flashlight is in motion step further comprises starting
cation Ser. No. 13/337.562 is hereby incorporated by refer               a timer to count to the predetermined period of time. The
ence in its entirety.                                               10   timer may be restarted by shaking the flashlight.
                                                                            According to a further aspect of the present disclosure, a
                       BACKGROUND                                        battery-conserving electronic device includes a body includ
                                                                         ing an opening for accessing an interior of the body; at least
   1. Field                                                              one battery disposed in the body and configured for powering
   The present disclosure relates generally to flashlight and
                                                                    15   the device; and a controller disposed in the body configured to
battery consuming electronic devices, and more particularly,             determine if the body is in motion, wherein if the body is not
to a battery-conserving flashlight and method thereof.                   in motion for a first predetermined period of time, the con
   2. Description of the Related Art                                     troller decouples the at least one battery from the electronic
   Flashlights are well known in the art. Generally, flashlights         device to conserve energy in the at least one battery.
are powered by at least one disposable battery, the size of                     BRIEF DESCRIPTION OF THE DRAWINGS
which depends on the size of the flashlight and wattage of the
illumination Source, e.g., an incandescent bulb, a light emit              The above and other aspects, features, and advantages of
ting diode (LED), etc.                                                   the present disclosure will become more apparent in light of
   Energy within the battery is consumed whenever the illu          25   the following detailed description when taken in conjunction
mination Source is activated, e.g., manually by an on/off                with the accompanying drawings in which:
Switch. Frequently, flashlights are turned on for a specific               FIG. 1 is a perspective view of a flashlight in accordance
purpose and left on indefinitely when a user puts the flashlight         with an embodiment of the present disclosure;
down to complete a task. In instances, where the user places               FIG. 2 is a schematic block diagram of a flashlight in
the flashlight down in an upright position with the illumina        30   accordance with an embodiment of the present disclosure;
tion Source facing downward, the user will most likely not               and
realize the flashlight is still on. Leaving the flashlight on for           FIG. 3 is a flow chart illustrating a method for conserving
long periods of time drains the battery, often resulting in a            battery life in an electronic device in accordance with an
“dead” or unusable flashlight upon the next attempted use.               embodiment of the present disclosure.
   Upon the next attempted use, at least one new battery will       35
need to be installed (consuming more natural resources) and                               DETAILED DESCRIPTION
the depleted battery will need to be disposed of cluttering
landfills. Therefore, a need exists for a flashlight which con             It should be understood that the elements shown in the
serves and extends the life of the at least one battery disposed         figures may be implemented in various forms of hardware,
therein.                                                            40   software or combinations thereof. Preferably, these elements
                                                                         are implemented in a combination of hardware and Software
                         SUMMARY                                         on one or more appropriately programmed general-purpose
                                                                         devices, which may include a processor, memory and input/
   A battery-conserving flashlight and method thereof are                output interfaces.
provided.                                                           45      The present description illustrates the principles of the
   In one aspect of the present disclosure, a flashlight is pro          present disclosure. It will thus be appreciated that those
vided including a body having a first end and a second end, the          skilled in the art will be able to devise various arrangements
first end including an illumination source and the second end            that, although not explicitly described or shown herein,
including an opening for accessing an interior of the body; at           embody the principles of the disclosure and are included
least one battery disposed in the body via the opening in the       50   within its spirit and scope.
second end, the at least one battery coupled to and configured              All examples and conditional language recited herein are
for powering the illumination source; and a controller dis               intended for pedagogical purposes to aid the reader in under
posed in the body configured to determine if the body is in              standing the principles of the disclosure and the concepts
motion, wherein if the body is not in motion for a first prede           contributed by the inventor to furthering the art, and are to be
termined period of time, the controller decouples the at least      55   construed as being without limitation to such specifically
one battery from the illumination Source to conserve energy              recited examples and conditions.
in the at least one battery.                                                Moreover, all Statements herein reciting principles,
   In another aspect, the flashlight further includes a motion           aspects, and embodiments of the disclosure, as well as spe
sensing device coupled to the controller, the motion sensing             cific examples thereof, are intended to encompass both struc
device configured to detect motion of the body.                     60   tural and functional equivalents thereof. Additionally, it is
   According to a further aspect of the present disclosure, a            intended that such equivalents include both currently known
method for conserving battery life in a flashlight is provided,          equivalents as well as equivalents developed in the future, i.e.,
the method including manually activating the flashlight by a             any elements developed that perform the same function,
user, detecting if the flashlight is in motion; upon detecting           regardless of structure.
that the flashlight is not in motion, activating a visual indica    65      Thus, for example, it will be appreciated by those skilled in
tor; and upon detecting that the flashlight is not in motion for         the art that the block diagrams presented herein represent
a predetermined period of time, deactivating the flashlight.             conceptual views of illustrative circuitry embodying the prin
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ciples of the disclosure. Similarly, it will be appreciated that            Referring to FIG. 2, a schematic diagram 200 of the flash
any flow charts, flow diagrams, state transition diagrams,               light 100 is illustrated. At least one battery 220 is coupled to
pseudo-code, and the like represent various processes which              an illumination source 108 and provides power for illuminat
may be substantially represented in computer readable media              ing the illumination source 108. In one embodiment, the at
and so executed by a computer or processor, whether or not               least one battery 220 is coupled to the illumination source 108
Such computer or processor is explicitly shown.                          via a switch 222 which is controller by controller 224. The
   The functions of the various elements shown in the figures            controller 224 controls the switch 222 based on various inputs
may be provided through the use of dedicated hardware as                 to the controller 224 for activating or deactivating the illumi
well as hardware capable of executing software in association       10
                                                                         nation source. For example, on/off switch 114 provides an
with appropriate software. When provided by a processor, the             input signal to the controller 224 when the on/off switch 114
functions may be provided by a single dedicated processor, by            disposed on the exterior of the body 102 is manually activated
a single shared processor, or by a plurality of individual               by a user. By controlling the switch 222, the controller 224
processors, some of which may be shared. Moreover, explicit              couples or decoupled the at least one battery to the illumina
use of the term “processor or “controller should not be             15
                                                                         tion source 108.
construed to refer exclusively to hardware capable of execut                The controller 224 is configured to determine if the flash
ing software, and may implicitly include, without limitation,            light is in use and, based on whether the flashlight is in use or
digital signal processor (“DSP) hardware, read only memory               not, will provide an indication to the user that the flashlight
(“ROM) for storing software, random access memory                        was left on or, alternatively, shut off the flashlight. In one
(“RAM), and nonvolatile storage.                                         embodiment, the flashlight will include a motion sensing
   Other hardware, conventional and/or custom, may also be               device or sensor 226 configured to determine if the flashlight
included. Similarly, any Switches shown in the figures are               or body 102 is in motion, e.g., if the flashlight is being carried.
conceptual only. Their function may be carried out through               An exemplary motion sensor is an accelerometer, which is a
the operation of program logic, through dedicated logic,                 sensing element that measures acceleration; acceleration is
through the interaction of program control and dedicated            25   the rate of change of velocity with respect to time. The accel
logic, or even manually, the particular technique being select           erometers can be used to measure static acceleration (grav
able by the implementeras more specifically understood from              ity), tilt of an object, dynamic acceleration, shock to an object,
the context.                                                             velocity, orientation and the vibration of an object. It is to be
   The word “exemplary' is used herein to mean “serving as               appreciated that any known or to be developed accelerometer
an example, instance, or illustration. Any configuration or         30   may be employed including but not limited to capacitive
design described herein as "exemplary' is not necessarily to             accelerometers, piezoelectric accelerometers, piezoresistive
be construed as preferred or advantageous over other configu             accelerometers, hall effect accelerometers, magnetoresistive
rations or designs. Herein, the phrase “coupled with is                  accelerometers, heat transfer accelerometers and MEMS (mi
defined to mean directly connected to or indirectly connected            cro-electro mechanical system) based accelerometers. By
with through one or more intermediate components. Such              35   employing an accelerometer as the motion sensing device
intermediate components may include both hardware and                    226, the controller 224 can determine if the flashlight is being
Software based components.                                               carried, i.e., is in motion. Additionally, since the accelerom
   A battery-conserving flashlight and method thereof are                eter can determine orientation, the controller 224 can deter
provided. The flashlight of the present disclosure conserves             mine if the flashlight was placed on a surface with the illumi
the battery life of at least one battery disposed therein by        40   nation source 108 facing downward; in other words, that the
providing a visual and/or audible warning to a user that the             first end 104 of flashlight 100 was placed on a surface with the
flashlight has been turned on but appears to no longer be in use         longitudinal axis of the body 102 of flashlight being perpen
by an operator or user. The techniques of the present disclo             dicular to the Surface. In this scenario, the light emitting from
sure further provide for shutting off the flashlight or decou            the illumination source usually goes undetected and the user
pling the battery from an illumination source after a prede         45   will not realize the flashlight is still turned on.
termined period of time if the user does not respond to the                 A visual indicator 116 is provided on the exterior surface of
visual and/or audible alert. In this manner, the flashlight will         the body and is coupled to the controller 224. In one embodi
conserve the energy or battery life of a power or energy source          ment, the visual indicator 116 is a LED. The controller 224
disposed within if the flashlight determines that it is no longer        activates the visual indicator 116 after the controller 224
in use.                                                             50   determines that the body 102 of the flashlight is not in motion
   Referring to FIG. 1, a battery-conserving flashlight 100 in           or being used. In one embodiment, the controller 224 starts a
accordance with an embodiment of the present disclosure is               timer after the controller 224 first determines that the flash
illustrated. The flashlight 100 includes a generally cylindrical         light is not in use and then activates the visual indicator 116
body 102 having a first end 104 and a second end 106. The                after a predetermined period of time, e.g., 30 minutes. The
first end 104 includes an illumination source 108, e.g., an         55   visual indicator 116 serves as an alert to the user that the
incandescent lightbulb, light emitting diode (LED), etc., and            flashlight has been left on. It is to be appreciated that this
the second end 106 includes an opening 110 for accessing an              predetermined period of time is adjustable. The predeter
interior of the body 102. At least one battery, or energy source,        mined period of time is adjusted by a user input 130 disposed
is disposed in the body 102 via the second opening 110 and is            on the exterior surface of the body 102. In one embodiment,
retained in the body by a cap 112 or similar means. It is to be     60   the user input 130 is a slider coupled to the controller 224,
appreciated that the energy source or battery may be dispos              wherein the user adjusts the slider to the a desired period of
able and/or rechargeable.                                                time as indicated by a plurality of graduation marks 132
   An on/off switch 114 is provided on an exterior surface of            adjacent the slider 130. It is to be appreciated that other types
the body 102 for manually activating the flashlight by a user.           of user inputs may be employed to adjust the predetermined
Furthermore, a visual indicator 116 and audible indicator 118       65   period of time, for example, a dial, pushbutton, etc.
are also provided on the exterior surface of the flashlight 100,            Alternatively, the controller 224 activates an audible indi
the details of which will be described below.                            cator 118 after the controller 224 determines the flashlight is
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                             5                                                                                6
not being used. The audible indictor 118 may be a buzzer,                    be appreciated that all predetermined periods of time refer
beeper, speaker, etc. or any other to be developed audible                   enced in the present disclosure are adjustable by the user, for
device.                                                                      example, by the input mechanism 130 disposed on the exte
   In one embodiment, the controller 224 activates the visual                rior surface of the body 102 of the flashlight 100. If the timer
indicator 116 after a first predetermined period of time of             5    value is less than the second predetermined period of time, the
inactivity and then activates the audible indictor 118 after a               process will revert to step 314. If the timer value is greater
second period of inactivity just before the controller 224 shuts             than the first predetermined period of time, the controller 224
down the flashlight, e.g., decouples the battery 220 from the                will deactivate the flashlight, in step 318, i.e., will decouple
illumination source 108.                                                     the battery 220 from the illumination source 108.
   It is to be appreciated that at any time after the visual and/or     10      By employing the devices and techniques described above,
audible indicators have been activated the user can prevent the              the flashlight of the present disclosure will conserve the
flashlight from turning off by moving the body 102 of the                    energy level or battery life of the power source disposed
flashlight 100. For example, if the flashlight is use by a user              within. In the case of a disposable battery or power source,
but is not in motion, the user will want the flashlight to remain            less batteries will be used resulting inless physical waste to be
lit. In this scenario, after either the visual and/or audible           15   disposed of and, in the case of a rechargeable battery or power
indicators have been activated, the user can merely give the                 Source, less electricity will be consumed to recharge the bat
body 102 of the flashlight 100 a shake to stop the timer and                 teries. It is to be appreciated that although the context of the
prevent the flashlight 100 from shutting down. The motion                    present disclosure was described in relation to a flashlight the
sensor 226 will sense the shake or movement and signal the                   teachings, techniques and principles of the present disclosure
controller 224 of same.                                                      can be applied to other electronic device that employ at least
  In another embodiment, the visual indication may be pro                    one battery, for example, a radio, portable media player,
vided by the illumination source 108. In this embodiment, the                mobile phone, laptop computer, tablet, etc. It is to be appre
controller 224 will cause the illumination source to intermit                ciated that this list is merely illustrative and in no way meant
tently turn on and off, i.e., to flash, to alert the user that the           to be exhaustive.
flashlight has been activated but is possibly not in use. As            25      Although the disclosure herein has been described with
described above, the controller 224 will intermittently flash                reference to particular illustrative embodiments, it is to be
the illumination source 108 after a predetermined period of                  understood that these embodiments are merely illustrative of
time. The user may stop the flashing of the illumination and                 the principles and applications of the present disclosure.
return to continuous use by merely shaking the body 102 of                   Therefore numerous modifications may be made to the illus
the flashlight 100.                                                     30   trative embodiments and other arrangements may be devised
   In a further embodiment, an enable/disable switch 134 is                  without departing from the spirit and scope of the present
provided on the exterior of the body 102 to enable or disable                disclosure, which is defined by the appended claims.
the battery conserving features of the flashlight. In the disable               Furthermore, although the foregoing text sets forth a
mode, the switch 134 sends a signal to the controller 224 to                 detailed description of numerous embodiments, it should be
indicate to the controller 224 that monitoring of the motion            35   understood that the legal scope of the present disclosure is
sensor 226 is to be disable and to leave the illumination source             defined by the words of the claims set forth at the end of this
108 activate regardless of the period of time the illumination               patent. The detailed description is to be construed as exem
source 108 is activate. In the disable mode, the visual and/or               plary only and does not describe every possible embodiment,
audible indicators are never activated.                                      as describing every possible embodiment would be imprac
   FIG. 3 is a flow chart illustrating a method for conserving          40   tical, if not impossible. One could implement numerous alter
battery life in an electronic device in accordance with an                   nate embodiments, using either current technology or tech
embodiment of the present disclosure.                                        nology developed after the filing date of this patent, which
   Initially, in step 302, the flashlight 100 is manually acti               would still fall within the scope of the claims.
vated by the user via on/off switch 114. In step 304, the                       It should also be understood that, unless a term is expressly
controller 224 will determine if the flashlight is in use, i.e., the    45   defined in this patent using the sentence "AS used herein, the
body 102 is in motion. If the flashlight is in use, the controller           term                      is hereby defined to mean . . . or a
224 will continuously monitor for inactivity; otherwise, if the              similar sentence, there is no intent to limit the meaning of that
flashlight is not is use, the controller 224 will start a timer, step        term, either expressly or by implication, beyond its plain or
306.                                                                         ordinary meaning, and Such term should not be interpreted to
   In step 308, the controller 224 will check again to see if           50   be limited in scope based on any statement made in any
motion has been detected and, if motion has been detected,                   section of this patent (other than the language of the claims).
the process will revert to step 304. However, if no motion has               To the extent that any term recited in the claims at the end of
been detected, the controller 224 will determined if the timer               this patent is referred to in this patent in a manner consistent
value is greater than a first predetermined period of time, in               with a single meaning, that is done for sake of clarity only so
step 310. If the timer value is less than the first predetermined       55   as to not confuse the reader, and it is not intended that Such
period of time, the process will revert to step 308. If the timer            claim term be limited, by implication or otherwise, to that
value is greater than the first predetermined period of time, the            single meaning. Finally, unless a claim element is defined by
controller 224 will activate the visual and/or audible indica                reciting the word “means” and a function without the recital
tors 116, 118, in step 312.                                                  of any structure, it is not intended that the scope of any claim
  After the visual and/or audible indicators have been acti             60   element be interpreted based on the application of 35 U.S.C.
vated, the controller 224 will continue to monitor for use or                S112, sixth paragraph.
motion, in step 314. At this point if motion has been detected,                What is claimed is:
e.g., in response to the user shaking the flashlight, the process              1. A flashlight comprising:
will revert to step 304 and the visual and/or audible indicators               a body including an opening for accessing an interior of the
will be deactivated. If motion has still not been detected, the         65        body;
controller 224 will determined if the timer value is greater                   at least one battery disposed in the body and configured for
than a second predetermined period of time, step 316. It is to                    powering the flashlight;
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  a controller disposed in the body configured to determine if             10. The method of claim9, further comprising activating an
     the body is in motion, wherein if the body is not in               audible indicator a second predetermined period of time after
     motion for a first predetermined period of time, the               activating the visual indicator.
     controller decouples the at least one battery from the                11. The method of claim 9, wherein the activating the
     flashlight to conserve energy in the at least one battery;         Visual indicator step includes intermittently activating an illu
     and                                                                mination source of the flashlight.
  a visual indicator disposed on an exterior surface of the                12. The method of claim 9, wherein the detecting if the
    body, wherein the controller activates the visual indica            flashlight is in motion step further comprises starting a timer
     tOr.                                                               to count to the predetermined period of time.
   2. The flashlight of claim 1, further comprising at least one   10      13. The method of claim 12, further comprising restarting
first Switch for coupling the at least one battery to the illumi        the timer by shaking the flashlight.
nation source, the at least one first switch being controlled by           14. The method of claim 13, wherein the predetermined
the controller.                                                         period of time is adjustable.
  3. The flashlight of claim 1, further comprising a motion                15. A battery-conserving electronic device comprising:
sensing device coupled to the controller, the motion sensing       15      a body including an opening for accessing an interior of the
device configured to detect motion of the body.                               body;
  4. The flashlight of claim 3, wherein the motion sensing                 at least one battery disposed in the body and configured for
device is an accelerometer.                                                   powering the device;
  5. The flashlight of claim 3, wherein the motion sensing                 a controller disposed in the body configured to determine if
device is a motion detection device.                                          the body is in motion, wherein if the body is not in
   6. The flashlight of claim 1, further comprising an audible                motion for a first predetermined period of time, the
indictor disposed on an exterior surface of the body, wherein                 controller decouples the at least one battery from the
the controller activates the audible indicator after the second               electronic device to conserve energy in the at least one
predetermined period of time of no motion, the second pre                     battery; and
determined period of time being less than the first predeter       25      a visual indicator disposed on an exterior surface of the
mined period of time.                                                         body, wherein the controller activates the visual indica
                                                                             tor.
   7. The flashlight of claim 2, wherein the controller is con             16. The electronic device of claim 15, further comprising at
figured to intermittently activate the at least one first switch
after the second predetermined period of time of no motion to           least one first switch for coupling theat least one battery to the
flash the illumination source, the second predetermined            30   electronic device, the at least one first switch being controlled
period of time being less than the first predetermined period           by the controller.
of time.                                                                   17. The electronic device of claim 15, further comprising a
  8. The flashlight of claim 3, further comprising a second             motion sensing device coupled to the controller, the motion
Switch for enabling or disabling the motion sensing device,             sensing device configured to detect motion of the body.
the second switch being disposed on an exterior surface of the     35      18. The electronic device of claim 17, further comprising a
body for manual activation by a user.                                   second switch for enabling or disabling the motion sensing
  9. A method for conserving battery life in a flashlight, the          device, the second switch being disposed on an exterior sur
method comprising:                                                      face of the body for manual activation by a user.
  powering the flashlight by at least one battery disposed in a            19. The electronic device of claim 15, wherein the visual
     body of the flashlight, the body including an opening for     40   indicator is displayed on a display screen of the electronic
     accessing an interior of the body;                                 device.
  determining, by a controller disposed in the body, if the                20. The electronic device of claim 15, further comprising
     body is in motion, wherein if the body is not in motion            an audible indictor disposed on an exterior surface of the
     for a first predetermined period of time, the controller           body, wherein the controller activates the audible indicator
     decouples the at least one battery from the flashlight to     45   after the second predetermined period of time of no motion,
     conserve energy in the at least one battery; and                   the second predetermined period of time being less than the
  activating, by the controller, a visual indicator disposed on         first predetermined period of time.
     an exterior surface of the body.                                                           ck   ck   ck   ck   ck
